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EXHIBIT 6

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE
HOMEVESTORS OF AMERICA, INC.,

Plaintiff,

WARNER BROS. DISCOVERY, INC.,

)
}
)
Vv. C.A. No. 22-1583-RGA
)
)
Defendant.

PLAINTIFE’S FIRST AMENDED OBJECTIONS TO
WARNER BROS. DISCOVERY, INC.’S NOTICE OF RULE 30(B)}(6) DEPOSITION

Pursuant to the Federal Rules of Civil Procedure, Plaintiff HomeVestors of America, Inc.
(“HomeVestors”} submits the following amended Objections to Defendant Warner Bros.
Discovery, Inc.’s (‘WBD”) Notice of Rule 30(b)(6) Deposition. HomeVestors provides these
objections based on information currently available to it and based on its understanding of the
deposition topics. HomeVestors will supplement its objections as necessary in accordance with the
rules and based on any subsequent agreements or understandings between the Parties.
HomeVestors objects to the location, date, and time that was arbitrarily set by WBD without
conferring with HomeVestors. HomeVestors will make one or more witnesses available at
locations that are reasonable convenient to such witness(es) and on dates and times provided by
HomeVestors based on witnesses availability. HomeVestors is willing to meet and confer with
WBD at a mutually agreeable time to discuss the Notice and HomeVestors’s objections, and to

attempt to resolve any disputes or disagreements that may exist.

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PRELIMINARY STATEMENT AND
OBJECTIONS TO DEFINITIONS

1. By responding to the deposition notice, Home Vestors does not waive any objection
that may be applicable to: (1) the use, for any purpose, by HomeVestors of any information given
in response to the deposition; or (2) the admissibility, privilege, relevancy, authenticity, or
materiality of any of the information to any issue in the case. HomeVestors expressly reserves the
right to object to the use of these depositions and the subject matter contained in them during any
subsequent proceeding, including the trial of this or any other action.

>

2. HomeVestors objects to the definition of “HomeVestors,” “You,” and “Your”
because it includes affiliates, predecessors, successors, subsidiaries, divisions, parent companies,
and all past or present directors, officers, agents, representatives, employees, consultants,
attorneys, and others acting on its behalf.

3, HomeVestors objects to the definitions and instructions because they seek to
expand the scope of discovery obligations imposed by the Rules or other applicable law.

HomeVestors will respond to Defendants’ deposition notice as may be required by the Rules or

applicable law.

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OBJECTIONS TO TOPICS FOR EXAMINATION

Topic No. 5 (sic). YOUR business model, including without limitation how YOUR
business operates and how it earns revenue and/or profit.

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case. HomeVestors also objects to this Topic because the
definition of “YOUR” is overly broad. HomeVestors also objects to this topic because the
timeframe is unduly burdensome, irrelevant, and disproportional to the needs of the case.

Subject to and without waiving the foregoing, HomeVestors will provide a witness to
testify regarding the general nature of HomeVestors’s business model and how, in general terms,

HomeVestors operates and earns revenue.

Topic No.6. YOUR “Franchise Disclosure Document,” including as produced at
HVA_ 00000001.

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case, especially because the topic is not specific in any way to
which parts of HomeVestors’s Franchise Disclosure Document that will be the subject of
examination. Further, HomeVestors objects to this topic because it seeks information protected by
the attorney-client privilege, work-product doctrine, or other applicable privileges or exemptions

from discovery.

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Subject to and without waiving the foregoing, HomeVestors will provide a witness to

testify generally regarding HomeVestors’s Franchise Disclosure Document.

Topic No. 7. The conception, creation and development of YOUR “Ugliest House of the
Year” contest.

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case. Further, HomeVestors objects to this topic because it secks
information protected by the attorney-client privilege, work-product doctrine, or other applicable
privileges or exemptions from discovery.

Subject to and without waiving the foregoing, HomeVestors will provide a witness to
testify regarding the conception, creation, and development of HomeVestors’s “Ugliest House of

the Year” contest.

Topic No. 8. The marketing, advertising and promotion of YOUR “Ugliest House of the
Year” contest.

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and

disproportional to the needs of the case, patticularly because the topic is unbounded by time.

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Subject to and without waiving the foregoing, HomeVestors will provide a witness to
testify regarding the marketing, advertising, and promotion of HomeVestors’s “Ugliest House of

the Year” contest from 2018 to the present.

Topic No. 9. YOUR marketing, advertising and promotional expenditures for the
“Usliest House of the Year” contest, including, without limitation, the dollar amount expended on
an annual basis from 2018 to the present.

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case.

Subject to and without waiving the foregoing, HomeVestors wili provide a witness to
testify regarding the marketing, advertising and promotional expenditures for the “Ugliest House
of the Year” contest based on the dollar amount expended on an annual basis from 2018 to the

present.

Topic No. 10. The solicitation or selection of entrants, contestants, participants and
franchisees for YOUR “Ugliest House of the Year” contest,

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and

disproportional to the needs of the case, in particular, because it is unbounded by time. Further,

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HomeVestors objects to this topic because it seeks information protected by the attorney-client

privilege, work-product doctrine, or other applicable privileges or exemptions from discovery.
Subject to and without waiving the foregoing, HomeVestors will provide a witness to

testify regarding the solicitation and/or selection of entrants, contestants, participants and

franchisees for HomeVestors’s “Ugliest House of the Year” contest from 2018 to the present.

Topic No. 11. The process and procedures by which the “voting by the public” referenced
in Paragraph 16 of YOUR FAC occurs, including the methods by which votes are solicited and
recorded, and the selection of the winner.

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case, in particular, because it is unbounded by time. Further,
HomeVestors objects to this topic because it seeks information protected by the attorney-client
privilege, work-product doctrine, or other applicable privileges or exemptions from discovery.

Subject to and without waiving the foregoing, HomeVestors will provide a witness to
testify regarding the process and procedures by which voting by the public occurs to vote for the

winner of the “Ugliest House of the Year” contest from 2018 to the present.

Topic No. 12. The target audience and market for YOUR “Ugliest House of the Year”
contest.
RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to

Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly

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burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case, in particular, because it is unbounded by time. Further,
HomeVestors objects to this topic because it seeks information protected by the attorney-client
privilege, work-product doctrine, or other applicable privileges or exemptions from discovery.
Subject to and without waiving the foregoing, HomeVestors will provide a witness to
testify regarding the target audience and market for the “Ugliest House of the Year” contest from

2018 to the present.

Topic No. 13. The channels for promotion for YOUR “Ugliest House of the Year” contest.

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case, in particular, because it is unbounded by time. Further,
HomeVestors objects to this topic because it seeks information protected by the attorney-client
privilege, work-product doctrine, or other applicable privileges or exemptions from discovery.

Subject to and without waiving the foregoing, HomeVestors will provide a witness to
testify regarding the channels HomeVestors uses to promote the “Ugliest House of the Year”

contest from 2018 to the present.

Topic No. 14, The geographic areas where YOU have marketed, advertised or promoted
the “Ugliest House of the Year” contest.
RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to

Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly

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burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case, in particular, because it is unbounded by time.

Subject to and without waiving the foregoing, HomeVestors will provide a witness to
testify regarding the geographic areas where HomeVestors has marketed, advertised or promoted

the “Ugliest House of the Year” contest from 2018 to the present.

Topic No. 15, Unsolicited media coverage of YOUR “Ugliest House of the Year” contest.

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case, in particular, because it is unbounded by time.

Subject to and without waiving the foregoing, HomeVestors will provide a witness to
testify regarding the unsolicited media coverage of the “Ugliest House of the Year” contest that

HomeVestors is aware of from 2018 to the present.

Topic No. 16. The alleged fame and public recognition of the “Ugliest House of the Year”
contest.

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case. HomeVestors also objects to this topic because the
timeframe is unduly burdensome, irrelevant, and disproportional to the needs of the case. Further,

HomeVestors objects to this topic because it seeks information protected by the attorney-client

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privilege, work-product doctrine, or other applicable privileges or exemptions from discovery.
Finally, HomeVestors objects to this topic because HomeVestors has not alleged that the “Ugliest
House of the Year” contest is famous.

Subject to and without waiving the foregoing, HomeVestors will provide a witness to

testify regarding the public recognition of the “Ugliest House of the Year” contest.

Topic No. 17. The creation, selection, development and adoption of THE UGLIEST
HOUSE Marks.

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case. HomeVestors also objects to this topic because the
timeframe is unduly burdensome, irrelevant, and disproportional to the needs of the case. Further,
HomeVestors objects to this topic because it seeks information protected by the attorney-client
privilege, work-product doctrine, or other applicable privileges or exemptions from discovery.

Pursuant to the foregoing objections, HomeVestors will provide a witness to testify
regarding non-privileged information concerning the creation, selection, development, and

adoption of THE UGLIEST HOUSE Marks, which are as follows:

5,304,576

(Incontestable)

THE UGLIEST HOUSE OF THE YEAR

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MARK REG. NO.

Te.
ligt EST 5,304,577
HOuse ireoneae

Of The # Year

WE BUY UGLY HOUSES 3,099,814
(Incontestable)
2,999,705
WE BUY UGLY HOUSES (incontestable)
5,172,916
UGLY HOUSE? (Incontestable)

Topic No. 18. The products and services with which YOU have used each of THE
UGLIEST HOUSE Marks.

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case. HomeVestors also objects to this topic because the
timeframe is unduly burdensome, irrelevant, and disproportional to the needs of the case. Further,
HomeVestors objects to this topic because it seeks information protected by the attorney-client
privilege, work-product doctrine, or other applicable privileges or exemptions from discovery.

Pursuant to the foregoing objections, HomeVestors will provide a witness to testify
regarding non-privileged information concerning the products and services that HomeVestors has

used with each of THE UGLIEST HOUSE Marks from 2018 to the present.
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Topic No. 19. The advertisement and promotion of products and services offered or
provided in connection with each of THE UGLIEST HOUSE Marks.

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case. HomeVestors also objects to this topic because the
timeframe is unduly burdensome, irrelevant, and disproportional to the needs of the case. Further,
HomeVestors objects to this topic because it seeks information protected by the attorney-client
privilege, work-product doctrine, or other applicable privileges or exemptions from discovery.

Pursuant to the foregoing objections, HomeVestors will provide a witness to testify
regarding non-privileged general information, including the advertising expenditures, regarding
the promotion of products and services offered or provided in connection with each of THE

UGLIEST HOUSE Marks from 2018 to the present.

Topic No. 20. The geographic area where YOU have advertised, promoted, offered or
provided products or services in connection with each of THE UGLIEST HOUSE Marks.

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case. HomeVestors also objects to this topic because the
timeframe is unduly burdensome, irrelevant, and disproportional to the needs of the case. Further,
HomeVestors objects to this topic because it seeks information protected by the attorney-client

privilege, work-product doctrine, or other applicable privileges or exemptions from discovery.

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Pursuant to the foregoing objections, HomeVestors will provide a witness to testify
regarding non-privileged general information regarding the geographic area where HomeVestors
has advertised, promoted, or offered products and services in connection with each of THE

UGLIEST HOUSE Marks from 2018 to the present.

Topic No. 21. The channels of trade through which YOU have advertised, promoted,
offered or provided products or services in connection with each of THE UGLIEST HOUSE
Marks.

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case. HomeVestors also objects to this topic because the
timeframe is unduly burdensome, irrelevant, and disproportional to the needs of the case. Further,
HomeVestors objects to this topic because it seeks information protected by the attorney-client
privilege, work-product doctrine, or other applicable privileges or exemptions from discovery.

Pursuant to the foregoing objections, HomeVestors will provide a witness to testify
regarding non-privileged general information regarding the channels of trade through which
HomeVestors has advertised, promoted, or offered products and services in connection with each

of THE UGLIEST HOUSE Marks from 2018 to the present.

Topic No. 22. The consumers to whom YOU have advertised, promoted, offered or

provided products or services in connection with each of THE UGLIEST HOUSE Marks.

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RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case. HomeVestors also objects to this topic because the
timeframe is unduly burdensome, irrelevant, and disproportional to the needs of the case. Further,
HomeVestors objects to this topic because it seeks information protected by the attorney-client
privilege, work-product doctrine, or other applicable privileges or exemptions from discovery.

Pursuant to the foregoing objections, HomeVestors will provide a witness to testify
regarding non-privileged general information regarding the consumers to whom Home Vestors has
advertised, promoted, or offered products and services in connection with each of THE UGLIEST

HOUSE Marks from 2018 to the present.

Topic No. 23. YOUR marketing, advertising and promotional expenditures for products
and services offered or provided in connection with each of THE UGLIEST HOUSE Marks.

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case. HomeVestors also objects to this topic because the
timeframe is unduly burdensome, irrelevant, and disproportional to the needs of the case. Further,
HomeVestors objects to this topic because it seeks information protected by the attorney-client
privilege, work-product doctrine, or other applicable privileges or exemptions from discovery.

Pursuant to the foregoing objections, HomeVestors will provide a witness to testify

regarding non-privileged general information regarding HomeVestors marketing, advertising, and

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promotional expenditures for products and services offered or provided in connection with each

of THE UGLIEST HOUSE Marks from 2018 to the present.

Topic No. 24. Unsolicited media coverage concerning each of THE UGLIEST HOUSE
Marks.

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case, in particular, because it is unbounded by time.

Subject to and without waiving the foregoing, HomeVestors will provide a witness to
testify generally regarding the unsolicited media coverage that HomeVestors is aware of regarding

HomevVestors with respect to THE UGLIEST HOUSE Marks from 2018 to the present.

Topic No. 25. The alleged fame and public recognition of each of THE UGLIEST HOUSE
Marks.

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case. HomeVestors also objects to this topic because the
timeframe is unduly burdensome, irrelevant, and disproportional to the needs of the case. Further,
HomeVestors objects to this topic because it seeks information protected by the attorney-client
privilege, work-product doctrine, or other applicable privileges or exemptions from discovery.

HomeVestors also objects to this topic on the basis that the testimony calls for HomeVestors

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contentions in this case, trial testimony before trial, and/or the testimony of expert witnesses and/or
legal positions/contentions. In addition, HomeVestors objects to this topic because HomeVestors
has not asserted that its marks THE UGLIEST HOUSE OF THE YEAR or UGLY HOUSE? are
famous.

Pursuant to the foregoing objections, HomeVestors will provide a witness to testify
regarding the facts supporting HomeVestors’s claim that its WE BUY UGLY HOUSES marks are

famous and the public recognition of each of THE UGLIEST HOUSE Marks.

Topic No. 26. YOUR sales of and profits for sales of products and services in connection
with each of THE UGLIEST HOUSE Marks.

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case. Further, HomeVestors objects to this topic because it seeks
information protected by the attorney-client privilege, work-product doctrine, or other applicable
privileges or exemptions from discovery. In addition, HomeVestors objects to this topic because
the company does not track sales, revenue, or profits on a per trademark basis.

Subject to and without waiving the foregoing, HomeVestors will provide a witness to
testify regarding the general sales of products and services in connection with HomeVestors

business, including the sales and revenues for HomeVestors from 2018 to the present.

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Topic No. 27. Any inquiries received from any third party or franchisee concerning
whether there is any relationship between WBD’s goods or services, including without limitation
the television program “Ugliest House in America,” and YOUR goods or services.

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case. Further, HomeVestors objects to this topic because it seeks
information protected by the attorney-client privilege, work-product doctrine, or other applicable
privileges or exemptions from discovery.

Subject to and without waiving the foregoing, HomeVestors will provide a witness to
testify regarding the inquiries HomeVestors received regarding the television program “Ugliest

House in America.”

Topic No. 28. Any instances of actual confusion as to the relationship between YOU and
WBD or concerning the source, sponsorship or affiliation between YOUR goods or services and
WBD’s goods or services, including without limitation the television program “Ugliest House in
America.” For the avoidance of doubt, the foregoing includes any specific instances in which a
consumer of YOUR goods or services expressed or evidenced confusion as to the source of the
television program “Ugliest House in America,” or whether the program was sponsored by, or
affiliated with, or approved by YOU.

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly

burdensome, seeking information that is not relevant to the claims and defenses in this matter, and

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disproportional to the needs of the case. Further, HomeVestors objects to this topic because it seeks
information protected by the attorney-client privilege, work-product doctrine, or other applicable
privileges or exemptions from discovery.

Subject to and without waiving the foregoing, HomeVestors will provide a witness to
testify regarding the instances of actual confusion as to the relationship between HomeVestors and
WBD or concerning the source, sponsorship or affiliation between HomeVestors’ goods or
services and WBD’s goods or services, including without limitation the television program

“Ugliest House in America.”

Topic No. 29. The UGVille platform, including its purpose, its functioning, and its use by
franchisees.

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case. Further, HomeVestors objects to this topic because it seeks
information protected by the attorney-client privilege, work-product doctrine, or other applicable
privileges or exemptions from discovery.

Subject to and without waiving the foregoing, HomeVestors will provide a witness to
testify regarding the general nature of the UGVille platform, including its purpose and its use by
franchisees. HomeVestors will not provide a witness regarding the functionality of the UGVille

platform.

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Topic No. 30. YOUR business relationship with IMAGINUITY, including without
limitation any contracts or agreements between YOU and IMAGINUITY, the services rendered to
YOU by IMAGINUITY, and any amounts paid by YOU to IMAGINUITY.

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case. Further, HomeVestors objects to this topic because it seeks
information protected by the attorney-client privilege, work-product doctrine, or other applicable
privileges or exemptions from discovery,

Subject to and without waiving the foregoing, HomeVestors will provide a witness to
testify regarding the general relationship between HomeVestors and Imaginuity/Calise Partners
from 2018 to the present, including the contracts with Imaginuity/Calise Partners, the services
provided by Imaginuity/Calise Partners, and manner in which funds are paid/allocated between

HomeVestors and Imaginuity/Calise Partners.

Topic No. 31. Market studies, market research or surveys concerning THE UGLIEST
HOUSE Marks.

AMENDED RESPONSE: HomeVestors incorporates its Preliminary Statement and
Objections to Definitions and Instructions. HomeVestors objects to this Topic as overly broad,
unduly burdensome, seeking information that is not relevant to the claims and defenses in this
matter, and disproportional to the needs of the case. HomeVestors also objects to this topic because
the timeframe is unduly burdensome, irrelevant, and disproportional to the needs of the case.

Further, HomeVestors objects to this topic because it seeks information protected by the attorney-

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client privilege, work-product doctrine, or other applicable privileges or exemptions from
discovery.

Pursuant to the foregoing objections, HomeVestors will provide a witness to testify
generally regarding non-privileged, non-work product market studies, market research or surveys

about THE UGLIEST HOUSE Marks, if any.

Topie No. 32. YOUR business reputation.

AMENDED RESPONSE: HomeVestors incorporates its Preliminary Statement and
Objections to Definitions and Instructions. HomeVestors objects to this Topic as overly broad,
unduly burdensome, seeking information that is not relevant to the claims and defenses in this
matter, and disproportional to the needs of the case. HomeVestors also objects to this topic because
the timeframe is unduly burdensome, irrelevant, and disproportional to the needs of the case.
Further, HomeVestors objects to this topic because it seeks information protected by the attorney-
client privilege, work-product doctrine, or other applicable privileges or exemptions from
discovery.

Pursuant to the foregoing objections, HomeVestors will provide a witness on this topic.

Topic No. 33. Complaints or criticisms by customers about the business practices of or
quality of services provided by YOU or YOUR franchisees.

AMENDED RESPONSE: HomeVestors incorporates its Preliminary Statement and

Objections to Definitions and Instructions. HomeVestors objects to this Topic as overly broad,
unduly burdensome, seeking information that is not relevant to the claims and defenses in this

matter, and disproportional to the needs of the case. HomeVestors also objects to this topic because

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the timeframe is unduly burdensome, irrelevant, and disproportional to the needs of the case.
Further, HomeVestors objects to this topic because it seeks information protected by the attorney-
client privilege, work-product doctrine, or other applicable privileges or exemptions from
discovery.

Pursuant to the foregoing objections, HomeVestors will provide a witness to testify

generally regarding the topic.

Topic No. 34. The ProPublica article entitled “The Ugly Truth Behind ‘We Buy Ugly
Houses,’” available at https://www.propublica.org/article/ugly-truth-behind-we-buy-ugly-houses,
the allegations contained in that article, and any internal investigation or discussions regarding the
same,

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case. HomeVestors also objects to this topic because the
timeframe is unduly burdensome, irrelevant, and disproportional to the needs of the case. Further,
HomeVestors objects to this topic because it seeks information protected by the attorney-client
privilege, work-product doctrine, or other applicable privileges or exemptions from discovery.

Pursuant to the foregoing objections, HomeVestors will provide a witness to testify solely
to the factual allegations in the ProPublica article identified above, the factual allegations in the

follow-up articles by ProPublica, and HomeVestors’ public actions and public statements in

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response to the allegations. HomeVestors will not provide a witness on “any internal investigation

or discussions regarding the same.”

Topic No. 35. YOUR profits, including how YOUR profits are earned and calculated and
the estimated value to YOU of an individual home acquisition and sale.

AMENDED RESPONSE: HomeVestors incorporates its Preliminary Statement and

Objections to Definitions and Instructions. HomeVestors objects to this Topic as overly broad,
unduly burdensome, seeking information that is not relevant to the claims and defenses in this
matter, and disproportional to the needs of the case. Home Vestors also objects to this topic because
the timeframe is unduly burdensome, irrelevant, and disproportional to the needs of the case.
Further, HomeVestors objects to this topic because it seeks information protected by the attorney-
client privilege, work-product doctrine, or other applicable privileges or exemptions from
discovery.

Pursuant to the foregoing objections, HomeVestors will provide a witness to testify about
HomeVestors’ profits from 2018 to the present, HomeVestors’ revenue streams, and the formula

for calculating fees charged to franchisees for individual home acquisitions and sales.

Topic No. 36. Enforcement of YOUR rights in THE UGLIEST HOUSE Marks against
third parties.

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and

disproportional to the needs of the case. HomeVestors also objects to this topic because the

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timeframe is unduly burdensome, irrelevant, and disproportional to the needs of the case, Further,

HomeVestors objects to this topic because it seeks information protected by the attorney-client

privilege, work-product doctrine, or other applicable privileges or exemptions from discovery.
Pursuant to the foregoing objections, HomeVestors will provide a witness to testify

regarding HomeVestors’s enforcement efforts to protect its rights in the Asserted Marks.

Topic No. 37. Any harm YOU have suffered as a result of WBD’s alleged inftingement of
THE UGLIEST HOUSE Marks.

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, secking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case. HomeVestors also objects to this topic because the
timeframe is unduly burdensome, irrelevant, and disproportional to the needs of the case. Further,
HomeVestors objects to this topic because it seeks information protected by the attorney-client
privilege, work-product doctrine, or other applicable privileges or exemptions from discovery.

Pursuant to the foregoing objections, HomeVestors will provide a witness to testify
regarding the general nature of the harm that HomeVestors has and is continuing to suffer as a

result of WBD’s infringement of THE UGLIEST HOUSE Marks.

Topic No. 38. YOUR responses to WBD’s interrogatories.

AMENDED RESPONSE: HomeVestors incorporates its Preliminary Statement and

Objections to Definitions and Instructions. HomeVestors objects to this Topic as overly broad,

unduly burdensome, seeking information that is not relevant to the claims and defenses in this

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matter, and disproportional to the needs of the case. HomeVestors also objects to this topic because
the timeframe is unduly burdensome, irrelevant, and disproportional to the needs of the case.
Further, HomeVestors objects to this topic because it seeks information protected by the aftorney-
client privilege, work-product doctrine, or other applicable privileges or exemptions from
discovery. HomeVestors also objects to this topic on the basis that the testimony calls for
HomeVestors contentions in this case, trial testimony before trial, and/or the testimony of expert
witnesses and/or legal positions/contentions.

Pursuant to the foregoing objections, HomeVestors will only provide a witness to testify
regarding HomeVestors’s factual responses to WBD’s Interrogatory Nos. 1-8, 11, 18, and 19.
HomeVestors will not provide a witness on any of HomeVestors’s objections fo WBD’s

Interrogatories, nor on WBD’s Interrogatory Nos. 9, 10, and 12-17.

Topic No. 39, YOUR privilege log(s).

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case. HomeVestors also objects to this topic because the
timeframe is unduly burdensome, irrelevant, and disproportional to the needs of the case. Further,
HomeVestors objects to this topic because it seeks information protected by the attorney-client
privilege, work-product doctrine, or other applicable privileges or exemptions from discovery.

Pursuant to the foregoing objections, HomeVestors will not provide a witness on this topic.

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Topic No. 40, You document collection efforts in connection with this action, including
all documents YOU requested be collected by Calise Partners, LLC.

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions. HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case. HomeVestors also objects to this topic because the
timeframe is unduly burdensome, irrelevant, and disproportional to the needs of the case. Further,
HomeVestors objects to this topic because it seeks information protected by the attorney-client
privilege, work-product doctrine, or other applicable privileges or exemptions from discovery.

Pursuant to the foregoing objections, HomeVestors will not provide a witness on this topic.

Topic No. 41. YOUR document, file and record retention policies.

RESPONSE: HomeVestors incorporates its Preliminary Statement and Objections to
Definitions and Instructions, HomeVestors objects to this Topic as overly broad, unduly
burdensome, seeking information that is not relevant to the claims and defenses in this matter, and
disproportional to the needs of the case. HomeVestors also objects to this topic because the
timeframe is unduly burdensome, irrelevant, and disproportional to the needs of the case. Further,
HomeVestors objects to this topic because it seeks information protected by the attorney-client
ptivilege, work-product doctrine, or other applicable privileges or exemptions from discovery.

Pursuant to the foregoing objections, HomeVestors will not provide a witness on this topic.

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Dated: September 9, 2024

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CERTIFICATE OF SERVICE

I hereby certify that on September 9, 2024, true and correct copies of the foregoing

document were served, via e-mail, on the following:

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